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Case: 1:12-cr-00577 Document #: 2 Filed: 07/27/12 Page 2 of 28 PageID #:6
Case: 1:12-cr-00577 Document #: 2 Filed: 07/27/12 Page 3 of 28 PageID #:7
Case: 1:12-cr-00577 Document #: 2 Filed: 07/27/12 Page 4 of 28 PageID #:8
Case: 1:12-cr-00577 Document #: 2 Filed: 07/27/12 Page 5 of 28 PageID #:9
Case: 1:12-cr-00577 Document #: 2 Filed: 07/27/12 Page 6 of 28 PageID #:10
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